      Case 4:21-cv-00862-O Document 38 Filed 02/02/23              Page 1 of 1 PageID 203



                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                  FORT WORTH DIVISION

 TROY BROOKS,                                      §
                                                   §
                                                   §
      Plaintiff,                                   §
                                                   §
 v.                                                §    Civil Action No. 4:21-cv-00862-O
                                                   §
 CITY OF ARLINGTON, TEXAS,                         §
                                                   §
                                                   §
      Defendant.                                   §

                                             ORDER

         Before the Court is the Unopposed Motion to Appoint Attorney Ad Litem for Minors (ECF

No. 36), filed February 1, 2023. Having considered the Motion, the Court finds it is well-taken

and should be and is hereby GRANTED.

         Accordingly, it is ORDERED that Victoria Ryon is appointed as Attorney Ad Litem to

represent the interests of L.E., B.C., and H.C., Decedent’s minor children. Ms. Ryon’s contact

information follows:

Address:           Ryon Law PLLC
                   2126 Hamilton Road, Suite 420
                   Argyle, TX 76226
Telephone:         (817) 773-2704

         SO ORDERED on this 2nd day of February, 2023.



                                                       _____________________________________
                                                       Reed O’Connor
                                                       UNITED STATES DISTRICT JUDGE




                                                   1
